Case 2:OO-CV-02923-SH|\/|-egb Document 281 Filed 08/26/05 Page 1 of 4 Page|D 461

 

IN THE UNITED STATES DISTRICT coUR§iLED BY D.c.
FOR THE wEsTERN DIsTRICT oF TENNESSEE_
WESTERN DIvISIoN 05 AUG 26 l,: |9
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EQUAL EMPLOYMENT oPPoRTUNITY U_ERKU.S D~Z‘YTH?CT COUHT
cOMMISsIoN, and W/D{)E~“z‘?.‘ *Fva-HS
CONSTANCE AMOS,
Plaintiffs,

vs. No. 00-2923-Ma

AUTOZONE, INC.,

Defendant.

 

ORDER GRANTING MOTION TO FILE SURREPLY

 

Before the court is the defendant’s Angust 19, 2005, motion
to file a surreply in opposition to plaintiff’S motion in limine.
For good cause shown, the motion is granted and the defendant may
file its surreply.

It is so ORDERED this lS*Aday of August, 2005.

J¢VML

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Ti'ais document entered on me docket Sheet in co 111-mca
with Ru\e 53 and/orfa(a) FHCP on i° .§Q ' § /

 

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This notice confirms a copy of the document docketed as number 281 in
case 2:00-CV-02923 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

